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 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,     )         CR. No. S-06-0441-GEB
                                   )
10                   Plaintiff,    )         STIPULATION AND ORDER
               v.                  )         TO EXTEND TIME TO POST
11                                 )         PROPERTY BOND
                                   )
12   VALERIE WHITE,                )
                                   )
13                    Defendant.   )
     ______________________________)
14
15        The defendant, through his undersigned counsel, and the
16   United States, through its undersigned counsel, agree and
17   stipulate that the due date to secure the unsecured property bond
18   in the amount of $400,000.00 be extended to August 22, 2008.
19        The Title Report has been completed by Chicago Title on the
20   property to be posted in San Francisco showing that the property
21   title is vested in “Eunice Mitchell, Trustee under that certain
22   Declaration of Trust, dated May, 1998".          Eunice Mitchell, the
23   defendant’s grandmother, now deceased, appointed in the trust,
24   defendant’s mother, Madie White and her aunt, Betty Mitchell as
25   co-trustees in substitute of her.           The Deed of Trust is prepared
26   to show the appointed co-Trustees as the Trustors for the Deed of
27   Trust with a copy of the Declaration of Trust, dated May 18,
28   1998, attached marked Exhibit B, to be recorded with the Deed of
     Trust.     The Appearance Bond is prepared to be signed by the
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 1   appointed trusties as well as the beneficiaries of the Trust.
 2   More time is needed to secure the signatures of all the sureties
 3   to the Bond.
 4        Accordingly, the defendant and the United States agree and
 5 stipulate to extend the due date for securing and posting the
 6 bond to August 22, 2008.      AUSA Jill Thomas has given defense
 7 counsel authorization to sign and submit this stipulation on her
 8 behalf.    The undersigned defense attorney contacted the assigned
 9 Pretrial Services Officer Gina Lee Faubion who stated that she
10 has no objection to the extension and that the defendant is in
11 full compliance to the terms and conditions for release.
12 Dated: July 29, 2008
13                                     McGREGOR W. SCOTT
                                       United States Attorney
14
                                          /s/ Jill Thomas
15                                   By:_______________________
                                        JILL THOMAS
16                                      Assistant U.S. Attorney
17 Dated: July 29, 2008
18                                      VALERIE WHITE
                                        Defendant
19
20                                   By:/s/William E. Bonham
                                      WILLIAM BONHAM
21                                    Counsel for Defendant
22
23                                    ORDER
24        IT IS SO ORDERED
25 Dated: 07/30/08                               /s/ Gregory G. Hollows
                                               _________________________
26                                             GREGORY G. HOLLOWS
                                               U.S. MAGISTRATE JUDGE
27
     white441.ord
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